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                            Case No. 22-40057

         In the United States Court of Appeals for the Fifth Circuit


                              Frank Vaughan,

                                                     Plaintiff-Appellant

Michael Joseph Collins; William A. Brewer, III; Brewer Storefront, P.L.L.C.,

                                                     Appellants,

                                      v.

                  Lewisville Independent School District,

                                                     Defendant-Appellee.


              On Appeal from the United States District Court
            for the Eastern District of Texas, Sherman Division
                   Civil Action No. 4:19-CV-00109-SDJ


                    BRIEF OF APPELLEE
         LEWISVILLE INDEPENDENT SCHOOL DISTRICT


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        APPELLEE'S CERTIFICATE OF INTERESTED PERSONS


      The undersigned counsel of record certifies the following listed persons and

entities, as described in the fourth sentence of Rule 28.2.1, have an interest in the

outcome of this case. These representations are made in order that the judges of this

Court may evaluate possible disqualification or recusal.

        Frank Vaughan                          Plaintiff-Appellant

        Michael Joseph Collins                 Appellant


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William A. Brewer, III               Appellant

Brewer Storefront, P.L.L.C.          Appellant

Lewisville Independent               Defendant-Appellee
School District

William A. Brewer, III               Attorney for Plaintiff-Appellant Frank
BREWER STOREFRONT, P.L.L.C.          Vaughan and Appellants William A.
                                     Brewer, III, Michael Joseph Collins,
                                     and Brewer Storefront, P.L.L.C.

Meredith Prykryl Walker              Attorney for Defendant-Appellee
WALSH GALLEGOS TREVIÑO               Lewisville Independent School District
KYLE & ROBINSON P.C.

Texas Association of School          Defendant-Appellee Lewisville
Boards Risk Management Fund          Independent School District's
                                     Risk Pool


                              By:     /s/Meredith Prykryl Walker
                                      Meredith Prykryl Walker
                                      State Bar No. 24056487

                              Attorneys for Defendant-Appellee
                              Lewisville Independent School District




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                    STATEMENT OF ORAL ARGUMENT


      Appellee Lewisville Independent School District (Lewisville ISD or the

District) believes oral argument could benefit the Court in reviewing this matter.




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                           STATEMENT OF ISSUES


Issue No. 1:

      The district court did not abuse its discretion in awarding Lewisville ISD

attorneys' fees under 52 U.S.C. § 10310(e).

Issue No. 2:

      Appellant Frank Vaughan forfeited his arguments regarding the district court's

award of attorneys' fees under 52 U.S.C. § 10310(e) by raising issues for the first

time on appeal.

Issue No. 3:

      The district court did not abuse its discretion in finding Appellant Frank

Vaughan's attorneys and law firm jointly and severally liable under 28 U.S.C. § 1927

for the attorneys' fees awarded against Appellant Frank Vaughan under 52 U.S.C. §

10310(e).




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                         STATEMENT OF THE CASE


      On February 12, 2019, Plaintiff-Appellant Frank Vaughan (Vaughan) filed his

Complaint for Declaratory and Permanent Injunctive Relief concerning Violations

of Section 2 of the Voting Rights Act (VRA) against Lewisville ISD and the

members of its Board of Trustees in their official capacities. (ROA.14). Thereafter,

the Board members moved to dismiss Vaughan's claims against them, and,

subsequently, the District and the Board members filed their Answer. (ROA.88, 93).

The district court eventually dismissed the Board members from the lawsuit as

Vaughan's claims against the Board members in their official capacities were

duplicative of his claims against Lewisville ISD. (ROA.544, 546).

      In the meantime, the parties engaged in extensive written discovery and

depositions leading to Lewisville ISD's Motion for Summary Judgment, which

addressed, inter alia, whether Vaughan had standing to assert his claims against the

District. (ROA.398-421). On July 31, 2020, the district court granted Lewisville

ISD's Motion for Summary Judgment on the basis that Vaughan lacked standing to

pursue his VRA claims because he did not suffer an injury in fact. (ROA.980-994).

      While the district court granted the District's Motion for Summary Judgment,

it failed to enter a separate judgment and otherwise award costs to either party.



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(ROA.994). As such, Lewisville ISD filed its Motion for Separate Judgment and

Award of Costs on August 10, 2020, which the district court subsequently granted,

therein awarding the District its costs and entering a final judgment. (ROA.995,

1030, 1036-1037). Lewisville ISD filed its Bill of Costs accordingly, which were

taxed against Vaughan on November 4, 2020. (ROA.1038, 1050).

      Thereafter, the District filed a Motion to Stay the Deadline for Requesting

Attorneys' Fees given Vaughan's anticipated appeal of the district court's final

judgment. (ROA.1059). Vaughan then appealed the district court's final judgment

and order granting the Motion for Summary Judgment to this Court, and, as such,

the district court stayed the deadline for attorneys' fees. (ROA.1069, 1071). But

before the Court could consider the merits of Vaughan's claims, he dismissed the

appeal. (ROA.1074).

      Lewisville ISD subsequently filed its Motion for Attorneys' Fees, which the

district court granted on December 28, 2021. (ROA.1075, 2003). In its order, the

district court awarded attorneys' fees against Vaughan under 52 U.S.C. § 10310(e)

given the frivolous and unreasonable nature of his claims and found Vaughan's

attorneys and law firm jointly and severally liable for the award of attorneys' fees in

accordance with 28 U.S.C. § 1927. (ROA.2003-2020). Vaughan and his attorneys

appealed the attorneys' fee award on January 27, 2022. (ROA.2021).




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                       SUMMARY OF THE ARGUMENT


      The standard for awarding attorneys' fees to prevailing defendants is well

settled in this Court. To that end, when a plaintiff's underlying claims are frivolous,

unreasonable, or groundless, a district court may, in its discretion, grant a request for

attorneys' fees. This is exactly what the district court found here and, as such, did

not abuse its discretion in awarding Lewisville ISD attorneys' fees given Vaughan's

complete failure to establish standing—the most basic legal requirement for

Vaughan to pursue his claims in the first instance. And while Vaughan now argues

he had a good faith basis for an extension of the current standing law, his complete

failure to address that extension to the district court results in the forfeiture of any

such argument on appeal.

      Moreover, the district court did not abuse its discretion in finding Vaughan's

attorneys jointly and severally liable in accordance with 28 U.S.C. § 1927 for the

attorneys' fees awarded against Vaughan. In addition to pursuing claims against the

District without standing (or failing to argue for an extension of the law), Lewisville

ISD provided the district court with clear and convincing evidence reflecting the

harassing and annoying nature of counsel's conduct during the discovery process.

Nor did the district court abuse its discretion in extending the liability to the Brewer



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StoreFront, LP given such a decision is well within the district court's inherent

authority.




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                          ARGUMENT AND AUTHORITIES


A.     The Standard of Review

       This Court reviews the district court's award of attorneys' fees under 52 U.S.C.

§ 10310(e) and the joint and several nature of that award under 28 U.S.C. § 1927 for

an abuse of discretion.1

B.     The standard for attorneys' fees awards under 52 U.S.C. § 10310(e).

       52 U.S.C. § 10310(e) provides "[i]n any action or proceeding to enforce the

voting guarantees of the fourteenth or fifteenth amendment, the court, in its

discretion, may allow the prevailing party . . . a reasonable attorney's fees."2 Under

the standard established by the Supreme Court, a prevailing defendant is entitled to

fees when a plaintiff's underlying claim is frivolous, unreasonable, or groundless or

when the plaintiff continues to litigate after it clearly becomes so.3 A finding of bad

faith, however, is not a prerequisite to an award of attorneys' fees to a defendant.4

       To prevent a chilling effect on the enforcement of civil rights and to "avoid



1
  Zastrow v. Houston Auto M. Imports Greenway, Ltd., 695 Fed. App'x 774, 779 (5th Cir. 2017);
Craig v. Gregg County, Tex., 988 F.2d 18, 20 (5th Cir. 1993); Morrison v. Walker, 939 F.3d 633,
637 (5th Cir. 2019).
2
  52 U.S.C. § 10310(e). 42 U.S.C. § 1988(b) and 52 U.S.C. § 10310(e) are substantially similar
and, as such, the Court applies "the same principles when determining [an] entitlement to attorneys'
fees." Craig, 988 F.2d at 20.
3
  Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 422 (1978).
4
  Id. at 421.

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discouraging all but 'airtight claims,' [district] courts focus on whether a plaintiff's

claim is colorable and of arguable merit."5 While district courts want to protect

potential civil rights claims, including claims to enforce the VRA, they also want to

protect defendants from burdensome litigation having no legal or factual basis.6 It

follows that the Supreme Court's standard for awarding attorneys' fees "insulates

defendants from the monetary strain of 'burdensome litigation having no legal or

factual basis.'"7 It is under this standard that the district court assessed and

appropriately granted Lewisville ISD's request for attorneys' fees against Vaughan.

C.     Vaughan forfeited his arguments regarding attorneys' fees under 52
       U.S.C. § 10310 by failing to raise his arguments before the district court.

       In requesting an award of attorneys' fees under 52 U.S.C. § 10310(e),

Lewisville ISD argued to the district court that Vaughan's lawsuit was frivolous,

unreasonable, and groundless because he could not establish standing. (ROA.1080-

1083). The District went on to argue each of these points, briefing the factors for

frivolity and the reasons supporting the unreasonable and groundless nature of the

lawsuit. (ROA.1081-1083). Vaughan, however, did not address these issues; instead,

Vaughan asserted the District's request for attorneys' fees under § 10310 failed

because "the [district] [c]ourt's dismissal of Vaughan's claims for lack of standing is

5
  Vaughner v. Pulito, 804 F.2d 873, 878 (5th Cir. 1986) (citing Jones v. Tex. Tech Univ., 656 F.2d
1137, 1145 (5th Cir. 1981)).
6
  Christiansburg, 434 U.S. at 420.
7
  Cantu Servs., Inc. v. Frazier, 682 F. App'x 339, 342 (5th Cir. 2017) (quoting Fox v. Vice, 563
U.S. 826, 833 (2011)).

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not the equivalent of a decision on the merits of his claims" and, thus, the district

court "did not determine that the merits of his claim were frivolous." (ROA.1992).

       Vaughan now addresses—for the first time—Lewisville ISD's arguments

regarding the frivolous, unreasonable, and groundless nature of his attempt to obtain

standing to pursue his VRA claims against the District. (Appellants' Brief, pp.17-

20). Indeed, while Vaughan's briefing to the district court did not address the merits

of his standing argument, Vaughan now argues to the Court that an award of

attorneys' fees is not appropriate because Vaughan had "a plausible argument for an

extension of existing law." (Appellants' Brief, pp.18-19). But Vaughan's eleventh-

hour attempt to assert the viability of his standing arguments comes too late.8

Vaughan had the opportunity to address such arguments with the district court and

chose not to do so. His failure results in the forfeiture of those arguments.9

D.     The district court did not abuse its discretion in awarding the District
       attorneys' fees under 52 U.S.C. § 10310.

       Even assuming arguendo that Vaughan's arguments regarding the district


8
  If Vaughan and his counsel were attempting to "stake out ground for VRA and constitutional
challenges to at-large voting systems analogous to the standing accorded for gerrymandering
plaintiffs," the District would have expected to find that argument somewhere in response to
request for attorneys' fees. (Appellants' Brief, p.20; ROA.1988-1994). Even the district court noted
"Vaughan's attorneys did not . . . argue that Vaughan's situation warranted a change to such law."
(ROA.2010).
9
  Rollins v. Home Depot USA, 8 F.4th 393, 397 (5th Cir. 2021) ("A party forfeits an argument by
failing to raise it in the first instance in the district court—thus raising it for the first time on
appeal."); Templeton v. Jarmillo, 28 F.4th 618, 622 (5th Cir. 2022) ("Making an issue clear, or . .
. presenting the issue "face up and squarely in the trial court," is necessary" to preserve the issue
for appeal).

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court's award of attorneys' fees to Lewisville ISD under 52 U.S.C. § 10310(e) are

properly before the Court, his arguments do not support an abuse of discretion on

the part of the district court. The Court should affirm the district court's award of

attorneys' fees against Vaughan under § 10310 accordingly.

       1.      Vaughan's lawsuit against the District was frivolous given his lack
               of standing to pursue his claims.

       This Court has identified three relevant factors in determining frivolity: (1)

whether the plaintiff has established a prima facie case; (2) whether defendant

offered to settle; and (3) whether the district court dismissed the case or held a full-

blown trial.10 While these factors may be neither exhaustive nor controlling in every

situation, they are, nevertheless, instructive on the issue of frivolity.11 Notably,

Vaughan did not address these factors in his briefing to the district court or to this

Court. Regardless, all three factors weigh in favor of the district court's award of

attorneys' fees to Lewisville ISD under § 10310.

               a.      The district court never reached the merits of Vaughan's
                       claims because he lacked standing.

       Vaughan filed suit against the District alleging a violation of Section 2 of the



10
   Walker v. City of Bogalusa, 168 F. 3d 237, 240 (5th Cir. 1999) citing United States v. Mississippi,
921 F.2d 604, 609 (5th Cir. 1991); Strain v. Kaufman County, 23 F. Supp. 2d 698, 700 (N.D. Tex.
1998).
11
   Myers v. City of West Monroe, 211 F.3d 289, 292 (5th Cir. 2000); Tannehill v. Tannehill, No.
1:18-CV-00242, 2019 WL 847946, at *10 (W.D. La. Jan. 23, 2019), report and recommendation
adopted, No. 1:18-CV-00242, 2019 WL 847445 (W.D. La. Feb. 21, 2019) (noting that these
factors are 'guideposts,' and frivolousness must be judged on a case-by-case basis).

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VRA, as well as violations of the Fourteenth and Fifteenth Amendments. (ROA.14-

38). In its Motion for Summary Judgment, Lewisville ISD asserted Vaughan, a white

voter, did not have standing to pursue his VRA claims because he was asserting the

interests of third parties, namely Asian, Black, and Hispanic voters. (ROA.405-407).

The district court agreed and dismissed Vaughan's claims given his lack of standing

to pursue them in the first instance. (ROA.980-994). In other words, the district court

never reached the merits of Vaughan's claims.

               b.      Vaughan and the District did not engage in settlement
                       discussions.

       The second factor the Court looks to in assessing frivolity is whether a

defendant offered to settle the plaintiff's claims.12 Here, the parties did not engage in

settlement discussions, and, in fact, Lewisville ISD requested that the district court

excuse the District from mediation. (ROA.891-892).

               c.      The district court summarily dismissed Vaughan's claims.

       As set forth herein, Vaughan filed his VRA lawsuit against Lewisville ISD

and the members of its Board of Trustees in their official capacities. (ROA.14). The

district court dismissed the Board members from the lawsuit given the duplicative

nature of Vaughan's claims against them. (ROA.544-547). The district court then



12
  Walker, 168 F.3d at 240; but cf., Myers, 211 F.3d at 292 (while acknowledging that settlement
offers are still a factor to be examined, the court questioned their utility in light of the fact that
some municipalities may have a standard policy of refusing to settle even meritorious claims).

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summarily dismissed Vaughan's claims against the District given Vaughan's lack of

standing. (ROA.980-994).

      2.     Vaughan's lawsuit against the District was unreasonable and
             groundless from the outset.

      As the district court noted in its Order granting Lewisville ISD's Motion for

Summary Judgment, the requirements of standing are well known: "a plaintiff must

show (1) an 'injury in fact,' (2) a sufficient causal connection between the injury and

the conduct complained of,' and (3) a 'likel[ihood]' that the injury 'will be redressed

by a favorable decision.'"13 (ROA.985-986). Despite this "bedrock principle,"

Vaughan pursued his VRA claims against Lewisville ISD and the members of its

Board of Trustees to redress the rights of third parties. (ROA.985, 1033).

      Indeed, as the district court stated in evaluating Lewisville ISD's request for

costs, Vaughan's "invocation of federal jurisdiction was objectively unreasonable,"

Vaughan "did not come close to—indeed he did not even attempt—asserting an

injury in fact," Vaughan "plainly had no personal stake in this matter, yet he pursued

the lawsuit anyway" and Vaughan's "attempt to pursue a claim in federal court based

on allegations that other people suffered harm, while he suffered none, was

objectively unreasonable." (ROA.1030-1036). This is the epitome of an

unreasonable and groundless lawsuit supporting an award for attorneys' fees under


13
  Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157-58 (2014) (quoting Lujan v. Defs. of
Wildlife, 504 U.S.555, 56-61 (1992)) (alterations in original).

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§ 10310.

          3.     Vaughan's attempts to argue the merits of his standing argument
                 to pursue claims against the District fail.

          Now facing an award of attorneys' fees for his frivolous, unreasonable, and

groundless VRA lawsuit against the District, Vaughan asserts for the first time on

appeal that his standing argument that "white voters have a constitutionally

cognizable stake in a non-racist electoral process constitutes a plausible argument

for an extension of existing law," more specifically "the standing accorded for

gerrymandering plaintiffs." (Appellants' Brief, p.18). But what Vaughan fails to

recognize is that "gerrymandering plaintiffs," regardless of their race, have suffered

an "injury in fact" because they live in a district that has been apportioned based on

reliance on racial criteria, thereby raising equal protection concerns.14

          Indeed, the Supreme Court's entire analysis of standing for "gerrymandering

plaintiffs" in Hays firmly forecloses any "extension of existing law" Vaughan is now

trying to make:

          Demonstrating the individualized harm our standing doctrine requires
          may not be easy in the racial gerrymandering context, as it will
          frequently be difficult to discern why a particular citizen was put in one
          district or another. Where a plaintiff resides in a racially gerrymandered
          district, however, the plaintiff has been denied equal treatment because
          of the legislature's reliance on racial criteria, and therefore has standing
          to challenge the legislature's action. Voters in such districts may suffer
          the special representational harms racial classifications can cause in the
          voting context. On the other hand, where a plaintiff does not live in

14
     See United States v. Hays, 515 U.S. 737, 744-45 (1995).

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       such a district, he or she does not suffer those special harms, and any
       inference that the plaintiff has personally been subjected to a racial
       classification would not be justified absent specific evidence tending to
       support that inference. Unless such evidence is present, that plaintiff
       would be asserting only a generalized grievance against governmental
       conduct of which he or she does not approve.15

As applied here, Vaughan's situation is analogous to those plaintiffs living outside

of a gerrymandered district because he has not "personally been subjected to a racial

classification" in violation of the VRA; rather, he filed suit because "[t]he current

electoral process denies my friends and neighbors, African Americans, Hispanics,

Asians, and other minorities, an equal opportunity to elect representatives of their

choice."16 (ROA.626). This is exactly the type of advocacy on the part of third parties

that will not support standing. Vaughan cannot now distance himself from his

Declaration to avoid the district's court's appropriate award of attorneys' fees against

him under § 10310(e).17

E.     The standard for attorneys' fees awards under 28 U.S.C. § 1927.

       28 U.S.C. § 1927 provides "[a]ny attorney . . . admitted to conduct cases in

any court of the United States . . . who so multiplies the proceedings in any case


15
   Id.
16
   This is a direct quote from Vaughan's Declaration in support of his response to the District's
Motion for Summary Judgment. (ROA.621-626).
17
   Lewisville ISD also notes Appellants' Brief relies on allegations in the Complaint to support
Vaughan's argument as opposed to directing the Court to evidence in the Record on Appeal.
(Appellant's Brief, pp.17-18). Indeed, while Vaughan asserts he "argued that his own children were
disadvantaged by the 'pervasive geographical discrimination,'" he neglects to reference his
Declaration reflecting his children already graduated high school. (Appellants' Brief, p.18;
ROA.624).

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unreasonably and vexatiously may be required by the court to satisfy personally the

excess costs, expenses, and attorneys' fees reasonably incurred because of such

conduct."18 To make such an award, there must be evidence of bad faith, improper

motive, or reckless disregard of the duty owed to the court.19 To that end,

       [t]he phrase "unreasonably and vexatiously" describes conduct that is
       objectively "harassing or annoying, or evinces the intentional or
       reckless pursuit of a claim, defense or position that is or should be
       known by the lawyer to be unwarranted in fact or law or is advanced
       for the primary purpose of obstructing the orderly process of the
       litigation."20

Lewisville ISD recognizes § 1927 should be used sparingly, and, even then, an award

should "not shift the entire financial burden of an action's defense."21

F.     The district court did not abuse its discretion in finding Vaughan's
       attorneys jointly and severally liable for the District attorneys' fees.

       The district court awarded attorneys' fees against Vaughan under 52 U.S.C. §

10310(e) because his "claims were frivolous and unreasonable." (ROA.2009). The

district court then held Vaughan's attorneys and law firm jointly and severally liable

for those attorneys' fees under 28 U.S.C. § 1927. (ROA.2013, 2020). Given counsel's

conduct during depositions, coupled with the "objectively unreasonable" invocation


18
   28 U.S.C. § 1927.
19
   Pennie v. Obama, 255 F. Supp. 3d 648, 675 (N.D. Tex. 2017) (citing Procter & Gamble Co. v.
Amway Corp., 280 F.3d 519, 525 (5th Cir 2002)); Allen v. Travis, No. CIV.A.3:06-CV-1361-M,
2007 WL 1989592, at *5 (N.D. Tex. July 10, 2007).
20
   Van Dyke v. Retzlaff, No. 4:18-CV-247, 2021 WL 351360, at *1 (E.D. Tex. Feb. 2, 2021)
(quoting In re W. Fid. Mktg, Inc., No. 4:01–MC–0020–A, 2001 WL 34664165, at *22 (N.D. Tex.
Jun. 26, 2011)).
21
   Meadowbriar Home for Children, Inc. v. Gunn, 81 F.3d 521, 535 (5th Cir. 1996).

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of the district court's jurisdiction, the district court did not abuse its discretion in this

regard. (ROA.1033).

       1.     The district court did not award attorneys' fees against Vaughan
              under 28 U.S.C. § 1927.

       The Appellants' Brief first takes the district court to task with respect to its

award of attorneys' fees under 28 U.S.C. § 1927 by asserting that such an award

against Vaughan goes against "the plain terms of [the] statute." (Appellants' Brief,

p.22). But nothing in the district court's order reflects that it awarded attorneys' fees

against Vaughan under § 1927; instead, the district court ordered attorneys' fees

against Vaughan under 52 U.S.C. § 10310(e). (ROA.2009, 2013). Not only is this

consistent with the Court's precedent, but the district court's opinion cannot be read

any other way.22

        More to the point, in analyzing Lewisville ISD's request for attorneys' fees

under § 1927, the district court specifically stated the statute " supports an award of

attorney's fees against Vaughan's counsel because LISD has proven by clear and

convincing evidence that Vaughan's case was 'unwarranted and should neither have

been commenced or persisted in.'" (ROA.2010) (emphasis added). The district court

went on to reference "Vaughan's attorneys" conduct in pursuing the claims and



22
  See Lewis v. Brown & Root, Inc., 711 F.2d 1287, 1291-92 (5th Cir. 1983) (affirming an award
of attorneys' fees against the plaintiff and finding the joint award against counsel under § 1927
warranted), clarified on reconsideration, 722 F.2d 209 (5th Cir. 1984).

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conducting the discovery, therein noting "the unreasonable and vexatious conduct

for which Vaughan's counsel is being sanctioned," and concluding "that Vaughan's

attorneys must be held jointly and severally liable for [the District's] attorneys' fees

pursuant to [§] 1927." (ROA.2010-2013) (emphasis added).

       It is axiomatic that holding Vaughan's counsel "jointly and severally liable"

under 28 U.S.C. § 1927 for attorneys' fees awarded against Vaughan under 52 U.S.C.

§ 10310(e) does not equate to or otherwise constitute an attorneys' fees award against

Vaughan under 28 U.S.C. § 1927. Vaughan's argument to the contrary is entirely

misplaced. The Court should disregard the argument accordingly.

       2.     The district court did not abuse its discretion in holding the Brewer
              StoreFront LP jointly and severally liable for attorneys' fees.

       The Appellants' Brief also asserts the district court abused its discretion in

finding the Brewer StoreFront, LP jointly and severally liable with Vaughan and his

attorneys for the attorneys' fees awarded under 52 U.S.C. § 10310(e). (Appellants'

Brief, pp.22-23; ROA.2020). The Brewer StoreFront, LP's argument simply notes

28 U.S.C. § 1927 "excludes law firms" from such awards, citing Federal Rule of

Civil Procedure 11, as well as decisions from the Sixth, Seventh, and Ninth Circuits.

(Appellants' Brief, pp.22-23). The Eleventh Circuit, however, firmly holds § 1927

"allows for sanctions against a law firm."23


23
   Smith v. Grand Bank & Trust of Fla., 193 Fed. App'x 833, 838 (11th Cir. 2006) (citing Avigran
v. Hull, 932 F.2d 1572, 1582 (11th Cir. 1991), cert. denied 502 U.S. 1048 (1992)).

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      It follows that there is a circuit split regarding the availability of a sanctions

award against a law firm under 28 U.S.C. § 1927, which this Court has not addressed.

But given a court's inherent authority, Lewisville ISD posits the district court did not

abuse its discretion in holding the Brewer StoreFront, LP jointly and severally liable

for the attorneys' fees awarded against Vaughan under 52 U.S.C. § 10310(e). The

Court should adopt the Eleventh Circuit's reasoning accordingly and find the district

court was well within its authority.

      3.     The district court appropriately found Vaughan's attorneys and
             law firm jointly and severally liable for the attorneys' fees award.

      Vaughan's attorneys and law firm, much like Vaughan, now staring down an

award of attorneys' fees, address—for the first time on appeal—the propriety of

Vaughan's standing argument. (Appellants' Brief, pp.23-24). But like Vaughan, their

attempts are too little, too late. While Lewisville ISD acknowledges Vaughan

appealed and then dismissed the district court's order granting the District's summary

judgment, that did not prevent Vaughan's attorneys and law firm from addressing

the "plausible argument for an extension of existing law" they now want to rely upon

in arguing the district court abused its discretion. (Appellants' Brief, pp.18-19).

      Indeed, a review of the response to Lewisville ISD's request for attorneys' fees

reflects two overarching arguments—(1) "Vaughan's claims were not dismissed on

the merits" and (2) Vaughan's attorneys and law firm did not engage in improper

conduct in conducting depositions. Notably, their failure to address the merits of

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Vaughan's standing argument formed part of the basis for the district court's sanction

award under § 1927—"Vaughan's attorneys did not plausibly allege standing under

existing law or argue that Vaughan's situation warranted a change to such law."

(ROA.2010). Like Vaughan, his attorneys and law firm forfeited any argument in

this regard.24

       Nevertheless, Vaughan's attorneys and law firm essentially assert the district

court abused its discretion by awarding sanctions under § 1927 because Vaughan's

VRA claims "fail[ed] to pass muster on a 'bedrock' constitutional principle."

(Appellants' Brief, p.23). Vaughan's attorneys and law firm go on to question the

availability of a sanctions award based on the "court's view of what constitutes 'core'

legal principles." (Appellants' Brief, pp.23-24). But an essential function of district

courts is to ensure they do not issue rulings unless controversies actually exist.25

       If pursuing a claim for which there is no case law supporting standing and

then failing to argue for an extension of existing case law does not constitute conduct

running afoul of § 1927, then standing serves no purpose. And as it currently stands,



24
   See Rollins, 8 F.4th at 397; Templeton, 28 F.4th at 622. To the extent the Court considers the
propriety of Vaughan's standing argument in evaluating the district court's sanctions under § 1927,
Lewisville ISD directs the Court to section D.3. of its Appellee Brief, which sets forth the reasons
why Vaughan, his attorneys, and their law firm do not have a reasonable basis for extending
standing to Vaughan here.
25
   See Valley Forge Christian College v. Ams. United for Separation of Church & State, Inc., 454
U.S. 464, 471 (1982) ("The constitutional power of federal courts cannot be defined, and indeed
has no substance, without reference to the necessity 'to adjudge the legal rights of litigants in actual
controversies.'").

                                                  18
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Vaughan's attorneys and law firm have not directed the Court to any arguments or

evidence in the Record on Appeal supporting any finding that the district court

abused its discretion when it found "that counsel, on behalf of Vaughan, recklessly

pursued a claim that they knew or should have known was unwarranted," particularly

given the experience Vaughan's attorneys and law firm continue to tout before this

Court. (Appellants' Brief, pp.13-14; ROA.1988, 2010-2011).

         What should be even more concerning to the Court, however, is the complete

failure by Vaughan's attorneys and law firm to address or otherwise explain their

conduct in depositions in any meaningful manner to the district court or this Court.

Indeed, they shift the blame to Lewisville ISD's counsel, continue to make baseless

claims the district court already refuted as "patently false" (i.e., "at the depositions

only made 'form objections'"), and refer to their methods as "zealous and thorough."

(Appellants' Brief, p.24; ROA.1993, 2013). But being what Vaughn's attorneys

couch as "zealous and thorough" advocacy is more accurately described as harassing

and annoying conduct, which is supportive of sanctions under § 1927.26

         To that end, contrary to their assertion and already addressed by the district

court, Lewisville ISD's counsel addressed the wholly irrelevant and harassing

conduct by Vaughan's attorneys during depositions through appropriate form

objections, and, when necessary, more thoroughly addressing the egregious lines of


26
     Van Dyke, 2021 WL 351360, at *1.

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questioning.27 (ROA.1088-1876). By way of example, when Vaughan's counsel

ventured into questioning regarding a Title IX lawsuit against Lewisville ISD,

counsel for the District stated her intention to "shut this [line of questioning] down"

before stating such questioning was "wholly outside the bounds" of discovery.

(ROA.1663-1665).

       In response, Vaughan's counsel actually argued allegations of sexual

harassment against students is related to the VRA, which plainly prohibits the

"denial or abridgement of the right of any citizen of the United States to vote on

account of race or color"—not sex or gender.28 (ROA.1663-1665). And immediately

following the discussion of the irrelevant Title IX lawsuit, Vaughan's counsel

ambushed Superintendent Kevin Rogers with a copy of a police report involving his

son that Vaughan had not previously produced in discovery.29 (ROA.1665-1672).

This is in addition to irrelevant lines of questioning such as opting out of Common

Core curriculum and Dr. Rogers' criticisms of the State of Texas Assessments of

Academic Readiness (STAAR) test. (ROA.1596-1597, 1630-1632).

       Vaughan's counsel also meandered through Dr. John Alford's expert



27
   As the district court noted, counsel's "form objections" during the depositions was entirely
appropriate and consistent with the Eastern District of Texas Local Rules. (ROA.2013). See E.D.
Tex. Local Rule CV-30 ("Objections to questions during the oral deposition are limited to
'Objection, leading’ and ‘Objection, form'").
28
   52 U.S.C. § 10301(a).
29
   Vaughan's counsel stated on the record "We were just made aware of another incident we wanted
to ask about, so we do not have paper copies to hand you of the exhibit that -- okay." (ROA.1665).

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deposition, questioning him on matters wholly unrelated to his expert report,

including the genetics of political ideology, the nature versus nurture of politics, and

political biology. (ROA.1092-1094, 1096-1098). Counsel also ventured off into an

unrelated discussion regarding the members in the United States Congress despite

Vaughan's VRA claim focusing on a non-partisan school board election.

(ROA.1131-1132, 1162). This culminated in asking Dr. Alford "[h]ow many 18-

year-olds have been elected to Congress" despite the experience Vaughan's attorneys

tout, not to mention the United States Constitution explicitly setting the age for

United States Representatives at 25 and the age for United States Senators at 30.

(ROA.1131-1132).

      Board member Angie Cox's deposition included an irrelevant discussion

regarding the Lewisville ISD Education Foundation, as well as lengthy questioning

regarding Ms. Cox's candidate questionnaire from the Lewisville Texas Journal,

which had Ms. Cox explaining irrelevant topics such as Ms. Cox's stance on

Lewisville ISD's request to opt out of the state of Texas' standardized testing,

whether the District should offer special education services, and school finance

lawsuits. (ROA.1299-1305). Vaughan's counsel also questioned Ms. Cox on how

"the District is dealing . . . mental health struggles" and accommodations on the

STAAR for students with disabilities. (ROA.1329-1330, 1353-1356).

      Board member Tracy Scott Miller's deposition likewise included a discussion


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of accommodations for students in need, specifically Mr. Miller's children.

(ROA.1458). Vaughan's counsel again meandered far afield of the actual issues

related to the VRA claim, including the achievement gap with students, campus

improvement plans, the relationship between the Board of Trustees and the

Superintendent, and the District's continued relationship with Templeton

Demographics. (ROA.1476-1480, 1482-1487, 1506). Board member Katherine

Sell's deposition included irrelevant questioning ranging from the opinions of a

Richardson Independent School District Board member regarding single member

districts, Ms. Sells' plans to seek other elected offices, and her views on allowing

teachers to carry guns on campus. (ROA.1751, 1778).

      In all, Vaughan noticed six depositions covering a range of irrelevant topics.

(ROA.1088, 1225, 1286, 1445, 1590, 1741). But despite deposing these six

witnesses over the span of 38 hours and 27 minutes of actual deposition time (and

43 hours and 15 minutes of total time), resulting in 1,689 pages in deposition

transcripts, Vaughan only utilized 21 pages of the deposition transcripts (or 1.2

percent) in response to the District's Motion for Summary Judgment. (ROA.809-

819, 827-828, 834-835, 840-841, 854-855, 873-874, 1089, 1163-1164, 1226, 1230,

1239, 1247, 1251, 1287, 1380-1381, 1446, 1519-1520, 1591, 1672-1673, 1742,

1815-1816). This certainly speaks to the harassing and vexatious nature of counsel's

conduct. Indeed, even assuming arguendo that the district court had standing, the


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depositions noticed by Vaughan constituted nothing more than an irrelevant waste

of time designed to harass and annoy the witnesses.

      Despite directing the district court to the information above, Vaughan's

attorneys argued Lewisville ISD "fail[ed] to provide clear and convincing evidence

of purportedly vexatious and harassing litigation misconduct warranting the

imposition of sanctions." (ROA.1994). But notably missing from the response to

Lewisville ISD's request for attorneys' fees was any evidence disputing the District's

position. More to the point, while the District's counsel provided testimony in the

form of declarations providing their opinions regarding counsel's conduct, the Court

will not locate a single affidavit or declaration from Vaughan's counsel disputing the

allegations. (ROA.1880, 1981).

      Vaughan and his counsel provided no explanation to the district court for these

lines of questioning or otherwise attempted to tie these lines of questioning to

Vaughan's VRA claims. (ROA.1993). That failure continues on appeal to this Court.

(Appellants' Brief, p.24). It follows that the district court did not abuse its discretion

in finding the conduct of Vaughan's attorneys sanctionable under § 1927. The Court

should uphold this finding on appeal.

G.    Conclusion

      Based on the foregoing, the Court should affirm the district court's award of

attorneys' fees against Vaughan under 52 U.S.C. § 10310(e) and affirm the district


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court's order holding Vaughan's attorneys and law firm are jointly and severally

liable for the award of attorneys' fees in accordance with 28 U.S.C. § 1927.

                                       Respectfully submitted,



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                         CERTIFICATE OF SERVICE


       The undersigned certifies that on this 30th day of June, 2022, the foregoing
Brief of Appellee Lewisville Independent School District has been filed in the office
of the Clerk for the United States Court of Appeals for the Fifth Circuit and a true
and correct copy of the same was served upon counsel of record in accordance with
the Federal Rules of Civil Procedure.


                                       /s/ Meredith Prykryl Walker
                                       Meredith Prykryl Walker




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  CERTIFICATE OF PRIVACY REDACTIONS AND VIRUS SCANNING


      The undersigned certifies that: (1) all required privacy redactions have been
made in this brief, in compliance with 5TH CIR. R. 25.2.13; (2) the electronic
submission is an exact copy of the paper document, in compliance with 5TH CIR.
R.25.2.1; and (3) the document has been scanned for viruses with the most recent
version of a commercial virus scanning program and is free of viruses.


                                       /s/ Meredith Prykryl Walker
                                       Meredith Prykryl Walker

                                       Dated:         June 30, 2022



           CERTIFICATE OF COMPLIANCE WITH RULE 32(a)


      1.     This brief complies with the type-volume limitation of FED. R. APP. P.
32(a)(7)(B) because this brief contains 5,444 words, excluding the parts of the brief
exempted by FED. R. APP. P. 32(f).

      2.     This brief complies with the typeface requirements of FED. R. APP. P.
32(a)(5) and the type style requirements of FED. R. APP. P. 32(a)(6) as this brief has
been prepared in a proportionally spaced typeface using Microsoft Office Word
2016, Times New Roman, font size 14 for text and font size 12 for footnotes.


                                       /s/ Meredith Prykryl Walker
                                       Meredith Prykryl Walker

                                       Dated:         June 30, 2022




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